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 5                                  UNITED STATES DISTRICT COURT
                                   WESTERN DISTRICT OF WASHINGTON
 6                                           AT SEATTLE

 7   ANNA PATRICK, DOUGLAS MORRILL,                                 Case No. 2:23-cv-00630
     ROSEANNE MORRILL, LEISA GARRETT,
 8   ROBERT NIXON, SAMANTHA NIXON,
     DAVID BOTTONFIELD, ROSEMARIE
 9   BOTTONFIELD, TASHA RYAN, ROGELIO
     VARGAS, MARILYN DEWEY, PETER                                   NOTICE OF APPEARANCE OF
10                                                                  JONAH OHM CAMPBELL
     ROLLINS, RACHAEL ROLLINS,
11   KATRINA BENNY, SARA ERICKSON,
     GREG LARSON, and JAMES KING,
12   individually and on behalf of all others
     similarly situated,
13
          Plaintiffs,
14
     v.
15
     DAVID L. RAMSEY, III, individually;
16
     HAPPY HOUR MEDIA GROUP, LLC, a
17   Washington limited liability company; THE
     LAMPO GROUP, LLC, a Tennessee limited
18   liability company,

19        Defendants.

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21             PLEASE TAKE NOTICE that Jonah Ohm Campbell of Albert Law, PLLC, hereby
22   enters his appearance in the above-entitled case as one of the attorneys for Plaintiffs, and
23


      Patrick et al, v. Ramsey, et al., Case No. 2:23-cv-00630   ALBERT LAW PLLC        FRIEDMAN | RUBIN®
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                                                                 SUITE 410              SUITE 501
                                                                 SEATTLE, WA 98121      SEATTLE, WA 98101
                                                                 (206) 576-8044         (206) 501-4446
              Case 2:23-cv-00630-JLR Document 12 Filed 05/31/23 Page 2 of 2




     requests that any and all pleadings, except original process, in the above-entitled case be served
 1
     upon the undersigned attorney for Plaintiffs at the address below stated.
 2

 3
             DATED this 31st day of May, 2023.
 4

 5
                                                                 ALBERT LAW, PLLC
 6

 7
                                                          By:
 8                                                               Jonah Ohm Campbell, WSBA# 55701
                                                                 3131 Western Ave., Suite 410
 9                                                               Seattle, WA 98121
                                                                 (206)576-8044
10                                                               jonah@albertlawpllc.com

11                                                           Attorneys for Plaintiffs
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